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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


 UNITED STATES OF AMERICA,
                                                                         ORDER
 -v-
                                                                         1:23-cr-36
 ANTHONY NEUBAUER,

                                Defendant.



               This Order is entered, pursuant to Federal Rule of Criminal Procedure 5(f) and

the Due Process Protections Act, Pub. L. No 116-182, 134 Stat. 894 (Oct. 21, 2020), to

confirm the Government’s disclosure obligations under Brady v. Maryland, 373 U.S. 83

(1963), and its progeny, and to summarize the possible consequences of violating those

obligations.

               The Government must disclose to the defense all information “favorable to an

accused” that is “material either to guilt or to punishment” and that is known to the

Government. Id. at 87. This obligation applies regardless of whether the defendant requests

this information or whether the information would itself constitute admissible evidence. The

Government shall disclose such information to the defense promptly after its existence

becomes known to the Government so that the defense may make effective use of the

information in the preparation of its case.

               As part of these obligations, the government must disclose any information that

can be used to impeach the trial testimony of a government witness within the meaning of

Giglio v. United States, 405 U.S. 150 (1972), and its progeny. Such information must be

disclosed sufficiently in advance of trial in order for the defendant to make effective use of it




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at trial or at such other time as the Court may order. 1 The foregoing obligations are continuing

ones and apply to materials that become known to the Government in the future. These

obligations also apply to information that is otherwise subject to disclosure regardless of

whether the Government credits it.

                     In the event the Government believes that a disclosure under this Order would

compromise witness safety, victim rights, national security, a sensitive law-enforcement

technique, or any other substantial government interest, it may apply to the Court for a

modification of its obligations, which may include in camera review or withholding or

subjecting to a protective order all or part of the information otherwise subject to disclosure. 2

                     For purposes of this Order, the Government has an affirmative obligation to

seek all information subject to disclosure under this Order from all current or former federal,

state, and local prosecutors, law enforcement officers, and other officers who have

participated in the prosecution, or investigation that led to the prosecution, of the offense or

offenses with which the defendant is charged.

                     If the Government fails to comply with this Order, the Court, in addition to

ordering production of the information, may:

                     (1) specify the terms and conditions of such production;

                     (2) grant a continuance;

                     (3) impose evidentiary sanctions;

                     (4) impose contempt or other sanctions on any lawyer responsible for violations

of the Government’s disclosure obligations, or refer the matter to disciplinary authorities;

         1
             This Order does not purport to set forth an exhaustive list of the Government’s disclosure obligations.
         2
          The Classified lnformation Procedures Act sets forth separate procedures to be followed in the event that the
Government believes matters relating to classified information may arise in connection with the prosecution. See 18 U.S.C.
APP. 3 § 3 et seq.



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          (5) dismiss charges before trial or vacate a conviction after trial or a guilty plea;

or

          (6) enter any other order that is just under the circumstances.


SO ORDERED.

     Dated: March 24, 2023
     Buffalo, New York
                                        ____/s/ Jeremiah J. McCarthy_______
                                            JEREMIAH J. MCCARTHY
                                            United States Magistrate Judge




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